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                                                                       ‘7.“   '0 82%*€ 1%
                                                                   EW/c/ 00%
                                                                       /I           :I            ~17
                                                                                      \V




                             771R    Fran K                \\\   v/,          /



               #W>L_ncpm§¢?q§               ,,,,,,,,,
                                                        Emgﬁlﬁa                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,   ,,,,,,,,


               Im       WPH‘L‘W’
      900‘
      m)!
      PUP
              ch'sa                       +0
                             on H~30vt7 a Crumb
              i?!5Ch0LF‘CJ€, wax/S en+~a~<cj
                                                         ok) GJDOQ‘V


      and      H7 3+0~+~BCLTM5 ordﬁv clogs
      00*     mos?— 0‘“ CL'LSMIsJ‘ “We. C0430
      041*     ‘anm      Ci“?
                                Says        SQMQ‘H’WCQB                OJOOQ‘JE”

                        53%: )QFQ
      H   Dis:    Q       mg FmaK Pts
      you Know 1m FRB 56: on ‘Hais
      do 00+ bomb COOMSQLcmd       dooﬂ“            I  I
                                               [afar I
      Sta-F   doekﬁ‘l’ shaQﬁ’S               (ﬁn ‘Hng            maul         .9.



      0.001        Pan days
              fin/«tn   1%

      behaw‘b i'bl-lmﬂ ﬁ            wwS    ordsr
      enJr‘Qfad ﬁvcﬁv SCI/>15 *Hne, Cage $5
      C1088 043d “H12, +rué+€ﬂ KS CJLSMCQ 5

 l"
                          n
                          gﬁm
      Sc> whcﬁv; 1: (mead +0 Know
      I woﬁmq For HsuzstSEM/K’CACQ?
      afd      is? Sc:         335   “WEVQ G        {HQ      demt
 -Tr>         9Q++WL5                0100329. (33%an T‘HJI’QV
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                                        @
              PFOM’WE woukd                           bﬂ    r0008,       ﬁmw
              ﬁgpﬂ'cmH/JUUO {any 9P                        C55    “Erytha
          A
              +65   +€Jiﬁma           OVOfH/u'n «(mob               “We,
              erK            150(k)“      (Vin me my
              CRUCICSCMCUELCTJD      QILHAQV- 9‘0 .104 D0+
              Sufi whoﬁf                    01F       00;me m
              Und’ﬁX‘Sfmmc/wn/‘00 F‘dtéC/(nov U22
           off/16C“ {133 we, Fem/x3 to H,Ubg:c SBJ’)’
         (51K: 6)} Cum 1 Cor‘CQO+€ CM 1‘? £0
            Com          I
                      CMSK F0?     3X t’ofVQ mgrdﬂ' “3
           3r- bearﬂw >Cow$€ (7+ Wis “\mva‘
                                                 1%




          :Lm 308+ ‘Ff‘yxh‘ +9 525% wincsdris
           80m? one: (3100+ YDMQ/ a Lawa/Y‘,
              and
                     \
                    woﬂ‘)‘ +0 fYMLKE’. Sure;
          gUOdQFSj'CgOd \CLny w‘VI‘OjLS
                                         8(5an 0(1)
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                                         yoor “Hone; GO “HMS
                                         'MW‘V'JVQV—       Com     foo
                                       hﬁV’i “Hm: CAth 520%
                                      ME (“r (Jacki/1' ﬁbleh
                                    T‘Vﬂg (gov :1: com 56%
                                    WWWS 5             ”ﬂ 00             3
